  Case: 1:17-cv-05668 Document #: 60 Filed: 04/06/18 Page 1 of 16 PageID #:594



                 IN THE UNITED STATES DISTRICT COURT FOR
                    THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

SAMUEL BARRERA, individually and on        )
behalf of all others similarly-situated,   )
                                           ) Civil Action No.: 1:17-cv-05668
                           Plaintiff,      )
                                           ) Hon. John R. Blakey
      v.                                   )
                                           )
GUARANTEED RATE, INC., a Delaware          ) CLASS ACTION
corporation,                               )
                                           )
                    Defendant.             )
                                           )
                                           )
                                           )
                                           )
                                           )
                                           )



MEMORANDUM OF DEFENDANT GUARANTEED RATE, INC. IN SUPPORT OF ITS
 MOTION TO COMPEL THE EXAMINATION OF PLAINTIFF’S COMPUTER AND
               TO PROVIDE RELEVANT DISCOVERY




                                           Givonna S. Long (#6290076)
                                           Kelley Drye & Warren LLP
                                           333 W. Wacker Dr.
                                           Chicago, Illinois 60606
                                           glong@kelleydrye.com

                                           Lauri A. Mazzuchetti (pro hac vice)
                                           Kelley Drye & Warren LLP
                                           One Jefferson Road, 2nd Floor
                                           Parsippany, New Jersey 07054
                                           lmazzuchetti@kelleydrye.com
    Case: 1:17-cv-05668 Document #: 60 Filed: 04/06/18 Page 2 of 16 PageID #:595



       Defendant Guaranteed Rate, Inc. (“GRI”) respectfully submits this memorandum of law in

support of its motion to compel the examination of plaintiff Samuel Barrera’s computer and to

compel plaintiff to provide relevant discovery pertaining to other potential putative class members.

                                       INTRODUCTION

       The Class Action Complaint (“Complaint”) filed by plaintiff Samuel Barrera (“Plaintiff”)

alleges that GRI violated the Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. § 227 et

seq., based on Plaintiff’s claim that GRI called him in response to his request for a free mortgage

quote, using an automatic telephone dialing system (“ATDS”), without his consent. Plaintiff’s

lack of consent claim is premised upon the allegation that GRI’s TCPA-compliant authorization

language was not “clearly and conspicuously” displayed on Plaintiff’s device when he populated

the web form requesting his free mortgage quote. The need to inspect that device is self-evident.

Plaintiff’s unwillingness to allow that inspection casts doubt on his claim and, in any event, must

be rejected.

       Plaintiff admits that he made an online request to GRI to receive a mortgage quote by

populating a web form on GRI’s website, on which he provided to GRI his cellular telephone

number as his “Preferred Phone Number.” It is not disputed that the web form viewed by Plaintiff

(the “Web Form”) included the precise disclosure and consent language endorsed by the FCC to

obtain consent for marketing calls placed using an ATDS. Plaintiff’s allegation is that he did not

see the TCPA-compliant disclosure and consent language during his browsing experience.

       Plaintiff’s Complaint includes a screenshot, which apparently depicts a viewing experience

by Plaintiff’s counsel and not Plaintiff himself that presents an incomplete view of the Web Form

as it would ordinarily be viewed. The screenshot, which Plaintiff defines as the “Ad Page,”

purposefully omits the TCPA-compliant disclosure that appeared directly beneath the button that

consumers clicked when making their request to receive a mortgage rate quote. GRI has tried
    Case: 1:17-cv-05668 Document #: 60 Filed: 04/06/18 Page 3 of 16 PageID #:596



repeatedly to obtain more information about Plaintiff’s interactions with the web form so that it

can determine why (if at all) it would have been displayed as Plaintiff alleges. GRI, therefore

propounded a discovery request seeking to examine his device. Despite the fact that Plaintiff’s

discovery responses make clear that the image attached to the Complaint and other similar images

produced thus far could not have been the images viewed by Plaintiff—and instead, the images

appear to be what Plaintiff’s counsel saw—he has refused to provide his computer for a forensic

examination.

       In addition to the issues surrounding Plaintiff’s viewing and populating of the Web Form,

it has come to GRI’s attention that Plaintiff’s counsel began advertising on their website

kozonislaw.com that they were “investigating claims that Guaranteed Rate, Inc. violated privacy

laws in respect to consumers who submitted their information through one of Guaranteed Rate’s

mortgage quote forms” on July 4, 2017, just one day before Plaintiff populated the Web Form.

Plaintiff’s counsel’s website also advertised that it was investigating whether QuoteWizard

“violated phone privacy laws” on July 4, 2017. Plaintiff’s facebook friend, Nicholas Lamberis,

who populated a web form on Quote Wizard’s website on July 10, 2017, sued QuoteWizard on

August 3, 2017, and is also represented by Plaintiff’s counsel. Thus, a forensic examination of

Plaintiff’s computer is also necessary to determine whether Plaintiff visited the kozonislaw.com

website before he populated the web form, whether the Web Form was completed for a proper

purpose and whether there were communications between Plaintiff and Mr. Lamberis regarding

the GRI webpage prior to Plaintiff completed the Web Form. At Plaintiff’s counsel’s request, GRI

has submitted two alternative protocols for such an examination, but both were rejected by

Plaintiff’s counsel without a valid basis.

       The law is clear that GRI is entitled to the forensic examination that it properly seeks in

discovery because how the web form at-issue was displayed on Plaintiff’s device and whether



                                                2
    Case: 1:17-cv-05668 Document #: 60 Filed: 04/06/18 Page 4 of 16 PageID #:597



Plaintiff completed the Web Form after seeing his counsel’s advertisement on their website is

central and relevant to his claim that the TCPA authorization language was not clearly and

conspicuously displayed on his device. GRI is entitled to know how he personally viewed the

authorization language and whether Plaintiff completed the Web Form for a proper purpose.

       Moreover, GRI is entitled to know who else may have communicated with Plaintiff’s

counsel in response to the website advertisement. GRI has asked for such information in

discovery, but Plaintiff has refused to provide it.

       For these reasons and as set forth below, GRI requests that the Court enter an order

compelling the forensic imaging and examination of Plaintiff’s computer by GRI’s forensic expert

in the manner outlined in the “Forensic Method” section of GRI’s Protocol provided to Plaintiff’s

counsel on April 2 and attached hereto, to take place on or before April 20, 2018. Alternatively,

GRI requests that this Court issue an order compelling a manual examination of Plaintiff’s

computer by GRI’s forensic expert in the manner outlined in the “Manual Method” of GRI’s

Protocol provided to Plaintiff’s counsel on April 2 and attached hereto, to take place on or before

April 20, 2018. GRI also requests that the Court enter an order compelling Plaintiff to provide

communications received from other potential putative class members, in accordance with GRI’s

discovery requests.

                           RELEVANT FACTUAL BACKGROUND

       A.      Plaintiff’s Counsel Advertises that They Are Investigating GRI and
               QuoteWizard

       On July 4, 2017 Plaintiff’s counsel Kozonis Law, began advertising on their website

kozonislaw.com that they were “investigating claims that Guaranteed Rate, Inc. violated privacy

laws in respect to consumers who submitted their information through one of Guaranteed Rate’s

mortgage quote forms” on July 4, 2017, just one day before Plaintiff populated the Web Form.

(Declaration of Givonna Long (“Long Decl.”) attached hereto as Exhibit 1, ¶ 3, Ex. A) Plaintiff’s


                                                      3
    Case: 1:17-cv-05668 Document #: 60 Filed: 04/06/18 Page 5 of 16 PageID #:598



counsel’s website also advertised that it was investigating whether QuoteWizard “violated phone

privacy laws” on July 4, 2017. (Id.) Plaintiff’s facebook friend, Nicholas Lamberis, who is also

represented by Plaintiff’s counsel, populated a web form on Quote Wizard’s website on July 10,

2017, and sued QuoteWizard on August 3, 2017, the same day that Plaintiff filed the instant action.

(Id.; See also Nicholas Lameris v. Quotewizard.com, LLC, 17-cv-05678, Dkt. No.1).

       B.      Plaintiff Provides His Phone Number to Receive a Quote from GRI

       Plaintiff alleges that on July 5, 2017 (the day after his counsel began advertising that they

were investigating GRI for claims related to completion of its web forms), he filled out a GRI Web

Form to obtain a free mortgage quote from GRI, and provided his cell phone number in the

“Preferred Phone Number” field for that purpose. (Complaint (Dkt. No. 1), ¶¶ 27-41.) In response

to his request, on July 6, he received telephone calls from GRI on the cell phone number that he

provided to GRI as his “Preferred Phone Number.” (Id. ¶¶ 42-44.) After GRI made two attempts

to reach Plaintiff by phone that were not answered, Plaintiff answered the third call. (Id.) Plaintiff

claims that the three calls that he received violated the TCPA, alleging that were made “using an

ATDS” (id. ¶ 45), and were made without his consent.

       With respect to Plaintiff’s claim that he did not consent to receive any call from GRI,

Plaintiff argues that he was unable to view on his computer screen, without scrolling, the TCPA-

compliant disclosure and consent language that was placed directly beneath the fields that he

populated when he requested a mortgage rate quote. Although Plaintiff claims that he “was not

aware that he would be receiving . . . calls as a result of using [GRI’s] website,” (Compl. ¶ 45),

when he answered the call from GRI, he said “I didn’t think you guys were gonna call up this

quick.” (Long Decl., Exhibit 1, ¶ 4, Ex. B) (emphasis added). The conversation between GRI and




                                                   4
    Case: 1:17-cv-05668 Document #: 60 Filed: 04/06/18 Page 6 of 16 PageID #:599



Plaintiff was cordial. (Id.) After this single conversation, GRI did not initiate any other call to

Plaintiff.

        Given Plaintiff’s claim, a central focus of discovery in this case is what Plaintiff viewed on

his computer screen when he populated the Web Form, whether he completed the Web Form for

a proper purpose, whether he did in fact expect to receive the calls at issue, and whether Plaintiff’s

viewing experience was the same as other viewers. In Plaintiff’s version of the Web Form, the

TCPA-compliant disclosure and consent language, which appeared in the same type face as other

text on the Web Form and was directly beneath the “Get your free quote” button, was removed.

(See Dkt. No. 1, ¶27, Ex. A). The Complaint alleged that, based on this “screen shot image,” the

disclosure is “inconspicuously hidden” and therefore, according to Plaintiff, GRI placed a call to

Plaintiff in violation of the TCPA. (Id. ¶34-35.) GRI has already submitted to this Court a

complete and accurate version of the Web Form, as it was intended to be viewed. (Dkt No. 13,

Prosser Decl., Ex. 1). That version shows that GRI’s TCPA-compliant disclosure and consent

language appeared directly below the “Get your free quote” button. The only way to assess this

alleged discrepancy, is an examination of Plaintiff’s device.

        C.     GRI’s Discovery Requests and Meet and Confer Efforts

        Counsel for the parties participated in an initial Federal Rule of Civil Procedure 26(f)

conference on August 31, 2017. (Long Decl. ¶ 22). During that call, counsel for GRI advised

Plaintiff’s counsel that GRI intended to seek an inspection of Plaintiff’s computer related to among

other things, his claims in this case, his interactions with GRI’s website, and the circumstances

surrounding Plaintiff’s population of the GRI webform. (Id.) GRI’s counsel requested that all

information related to this case be preserved. (Id.)

        Shortly thereafter, on November 20, 2017, GRI served its First Set of Interrogatories and

First Set of Requests for Production of Documents, seeking, among other things, to obtain



                                                   5
       Case: 1:17-cv-05668 Document #: 60 Filed: 04/06/18 Page 7 of 16 PageID #:600



discovery concerning the circumstances surrounding the “screen shot image” of the version of the

Web Form Plaintiff attached to the Complaint, and why it purportedly appeared different on

Plaintiff’s device from the way that it would have been displayed on any other device. Specifically,

GRI sought, “[a]ll computer or mobile devices used to access the [GRI] Website, to populate the

[Web Form], or to access any other website or webpage regarding mortgages and/or mortgage

rates, for inspection.” (Long Decl. ¶ 8, Ex. C, GRI’s RFP No. 11). GRI also sought information

with respect to other putative class members known to Plaintiff. For example, GRI requested the

name, address and telephone number for any person that Plaintiff or his counsel believed to be a

member of Plaintiff’s proposed class. (Long Decl. ¶ 9 Ex. D, Interrogatory No. 18). GRI further

sought “[a]ll Documents concerning or identifying any potential Putative Class Member, including

Communications with potential Putative Class Members” by Plaintiff or his counsel. (Long Decl.

¶ 8 Ex. C, GRI’s RFP No. 28).

         On February 2, 2018, Plaintiff provided his written response objecting to GRI’s request to

inspect Plaintiff’s computer on grounds that the request was overly broad, unduly burdensome and

“not relevant to this action or whose relevance is outweighed by the invasive burdensome nature

of the request.” (Long Decl. ¶ 10 Ex. E, Plaintiff Response to RFP No. 11). Plaintiff did not

provide any information in counsel’s possession regarding putative class members, nor did he

provide any communications in response to his counsel’s website advertisement. (Long Decl. ¶

11).

         After Plaintiff provided his written objection, the parties exchanged email correspondence

and engaged in at least three telephonic conferences wherein counsel for GRI and counsel for

Plaintiff discussed Plaintiff’s objection to having his computer examined and other discovery

deficiencies. (Long Decl. ¶ 12). During the course of the conversations, counsel for GRI explained

to counsel for Plaintiff why an examination of Plaintiff’s computer, browser history, settings and



                                                  6
    Case: 1:17-cv-05668 Document #: 60 Filed: 04/06/18 Page 8 of 16 PageID #:601



any modifications thereto, was relevant and necessary because Plaintiff’s claims center on how he

allegedly saw the Web Form on his computer. (Long Decl. ¶ 13). Plaintiff’s counsel did not object

to the relevance of the examination, but rather requested more details concerning the examination.

(Long Decl. ¶ 14). With respect to the information and communication concerning other potential

putative class members, Plaintiff’s counsel indicated they were standing on their objections and

refusal to provide such information. (Long Decl. ¶ 15).

       After consulting with a forensics and electronic discovery firm, GRI’s counsel explained

the process that would occur during the examination and asked whether Plaintiff’s counsel would

agree to the inspection. (Long Decl. ¶ 16). Counsel for GRI also explained, as its expert stated,

that a forensic imaging of Plaintiff’s computer is the industry standard and most forensically sound

method to conduct the examination. (Long Decl. ¶ 17). Plaintiff’s counsel would not agree to this

method of inspection. (Long Decl. ¶ 17). After following up with its forensic firm to determine

feasibility, and in an effort to reach a compromise, without waiving the right to seek a forensic

imaging of Plaintiff’s computer if needed, GRI’s counsel next inquired as to whether Plaintiff’s

counsel would permit a manual in-person inspection. (Long Decl. ¶ 17). Plaintiff’s counsel did

not indicate whether it would accept GRI’s proposal, but asked that they be provided a written

protocol for any proposed inspection. (Long Decl. ¶ 17).

       On April 2, 2018, GRI’s counsel provided a proposal from its forensic firm that included

both a forensic imaging inspection method and a manual inspection method. (Long Decl. ¶ 18,

Ex. F; (Declaration of Jared Sikorski (“Sikorski Decl.”) attached hereto as Exhibit 2, ¶ 8, Ex. A)).

Both methods make clear that they will be limited to potentially relevant data including, but not

limited to, file activity, deleted data, web browser configuration settings, web browser extensions

and add-ons, recreated web pages, web history, and screen shots. The GRI proposal also indicated

that industry standard safeguards would be used to ensure the security and integrity of Plaintiff’s



                                                  7
    Case: 1:17-cv-05668 Document #: 60 Filed: 04/06/18 Page 9 of 16 PageID #:602



device. (Long Decl. ¶ 18, Ex. F, Sikorski Decl. Ex. A). Plaintiff’s rejected both protocols

proposals on the basis that the protocols “do not identify the specific files that will be accessed.”

(Long Decl. ¶ 20, Sikorski Decl. ¶ 12). Plaintiff provided their version of a manual inspection

protocol, which GRI’s counsel shared with its forensic firm. (Long Decl. ¶ 21, Exhibit H, Sikorski

Decl. ¶ 12, Exhibit B). GRI’s forensic firm advised that Plaintiff’s version is not feasible for a

number of reasons, including, among other things, because it is limited to viewing only one specific

folder and file, it excludes system logs where resolution settings may be found, and—most

importantly—prohibits access to files that are necessary to conduct a proper examination. (Sikorsi

Decl. ¶¶ 13-14). GRI’s forensic firm also advised that Plaintiff’s proposal is not possible because

they do not know at this time whether the information that needs to be inspected is limited to the

specific file(s) Plaintiff proposes, therefore they would not be able to conduct a fulsome inspection

and would instead convert the inspection to a simple file extraction. (Sikorski Decl. ¶¶ 13-14).

       On April 6, 2018, Plaintiff was deposed by counsel for GRI. (Long Decl ¶ 23). During

his deposition, Plaintiff testified that he deleted his browser history a few months ago. (Id.)

Plaintiff also testified during his deposition that he could not remember how he reached the GRI

website, or what steps he took to navigate to the GRI web page to complete the Web Form. (Id.)

Plaintiff’s deletion of his web history is suspicious in light of GRI’s requests back on August 31,

2017 for an inspection of his computer, which was followed by a formal document request for an

inspection of Plaintiff’s computer on November 20, 2017.

       D.      The Screenshots Provided by Plaintiff

       Further underscoring the need for a complete forensic examination of Plaintiff’s computer

related to the claims, is that he claims to have visited GRI’s website and populated the Web Form

on July 5, 2017 on his “Apple MacBook Pro Laptop Computer (2015) . . . using a Safari internet

browser.” (Long Decl. ¶19, Ex. G Supplemental Response to Interrogatory No. 3). On other dates,



                                                  8
     Case: 1:17-cv-05668 Document #: 60 Filed: 04/06/18 Page 10 of 16 PageID #:603



Plaintiff claimed that his counsel accessed GRI’s website using, among other devices, a “DELL

D11S (2016)” computer (which typically use a Microsoft Windows operating system) using the

Internet Explorer browser. (Long Decl. ¶19, Ex. G).

        None of the screenshots of the Web Form as Plaintiff purportedly saw it produced by

Plaintiff during discovery, attached to the Complaint, or his declaration submitted with his

opposition to GRI’s motion to dismiss portray an image taken by an Apple MacBook using the

Safari internet browser. (Long. Decl. ¶¶ 5-6). Each of those screenshots clearly show that

someone was using a computer with a Microsoft Windows operating system (not an Apple

operating system) using the Microsoft Internet Explorer web browser (not Safari) when those

screenshots were captured. (See Complaint, Dkt. No. 1, ¶27; Barrera Decl. Dkt. 20-1, Exhibit A).

It is patently evident, therefore, that that none of the screenshots produced by Plaintiff thus far are

reflective of what he actually saw, but instead appear to be, presumably, what his counsel may

have seen.

        Moreover, GRI has discovered that on July 4, 2017—the day before Plaintiff submitted his

information to GRI—Plaintiff’s counsel posted an online advertisement claiming that they were

investigating GRI for alleged robocalls to apparently solicit plaintiffs for potential lawsuits. (Long.

Decl. ¶ 3, Ex. A). Plaintiff admits that he did not contact his attorneys until July 7, 2017. (Long

Decl. Ex. E). GRI, therefore, is also entitled to examine Plaintiff’s computer to determine if he

accessed the advertisement by his counsel soliciting potential plaintiffs prior to completing the

GRI Web Form, as well as communications Plaintiff’s counsel received with respect to the

advertisement.

                                           ARGUMENT

I.      THIS COURT SHOULD COMPEL THE FORENSIC EXAMINATION OF
        PLAINTIFF’S COMPUTER PURSUANT TO GRI’S DISCOVERY REQUESTS
        AND COMPEL PLAINTIFF TO PROVIDE INFORMATION CONCERNING
        OTHER PUTATIVE CLASS MEMBERS


                                                   9
   Case: 1:17-cv-05668 Document #: 60 Filed: 04/06/18 Page 11 of 16 PageID #:604



        “A party may file a motion to compel discovery under Rule 37 of the Federal Rules of Civil

Procedure (“FRCP”) where another party fails to respond to a discovery request, or where the

party’s response is evasive or incomplete.” Meyer v. S. Pac. Lines, 199 F.R.D. 610, 611 (N.D. Ill.

2001). “Under FRCP 26(b)(1), ‘parties may obtain discovery regarding any matter, not privileged,

which is relevant to the subject matter involved in the pending action, whether it related to the

claim or defense of the party seeking discovery, or to the claim or defense of any other party[.]”

Id. (quoting Fed. R. Civ. P. 26(b)(1)). A discovery request is relevant “if there is any possibility

that the information sought may be relevant to the subject matter of the action.” AM Int’l, Inc. v.

Eastman Kodak Co., 100 F.R.D. 255, 257 (N.D. Ill. 1981) (citing 8 WRIGHT & MILLER, FEDERAL

PRACTICE AND PROCEDURE, CIVIL § 2008 (1970)). “[T]he burden is upon the objecting party to

show why a discovery request is improper.” Rubin v. Islamic Republic of Iran, 349 F. Supp. 2d

1108, 1111 (N.D. Ill. 2004).

        1.     The Inspection of Plaintiff’s Computer

        Here, how the Web Form was displayed on Plaintiff’s device is central to his claims that

the TCPA-compliant disclosure language was not clearly and conspicuously displayed to him. It

is also critical, whether Plaintiff completed the Web Form for a proper purpose. Accordingly, GRI

is entitled to examine Plaintiff’s computer with respect to any artifacts on his device relating to his

claim, including any file activity, deleted data, web browser configuration settings, web browser

add-ons and other information that may have affected (or not affected) how the Web Form was

displayed on his device, when he accessed the GRI web page and whether he accessed the

kozonislaw website before he populated the Web Form. Plaintiff has not offered any explanation

as to why such an examination should not occur, other than he will be unduly burdened. That does

not suffice.




                                                   10
   Case: 1:17-cv-05668 Document #: 60 Filed: 04/06/18 Page 12 of 16 PageID #:605



       More importantly, it has come to GRI’s attention during Plaintiff’s deposition that Plaintiff:

(1) has deleted his browser history despite the fact that there was a pending request for an

examination of Plaintiff’s computer; and (2) does not remember how he navigated to the GRI

website to complete the webform. These circumstances make the need for a forensic imaging and

inspection of Plaintiff’s computer even more important for several reasons. First, Plaintiff’s

deletion of his browser history when a pending request for an inspection of his computer was

pending causes concern as to the reason for the deletion. Second, now that Plaintiff has deleted

his browsing history, it may be difficult to retrieve this history during a manual inspection. Finally,

it is important to know how Plaintiff reached GRI’s website and the webform to understand his

viewing experience, what he saw and how the webform was displayed.

       The law is clear that GRI is entitled to the examination it seeks. In Transamerica Life Ins.

Co., Inc. v. Lambert, No. 4:12-CV-1253 CAS, 2013 WL 4028275, at *2 (E.D. Mo. Aug. 7, 2013),

for example, the court granted a party’s motion to compel the production of an individual’s

computer and cell phone for forensic examination, rejecting the claim that the party would be

unduly burdened by such an order. In ordering the forensic examination, the Court found that the

motion should be granted because the non-moving party’s “production of copies of cell phone text

messages and a non-forensic copy of the computer hard drive are insufficient to respond to [the]

second request for the production of the cell phone and computer themselves, as the copies do not

allow for forensic examination of the devices.” Id. Similarly, here, Plaintiff will suffer no undue

burden by having his computer examined because how the Web Form displayed on his computer

is central to his claim and the screenshots he provided, none of which could have possibly been

taken by his device, do not allow for the forensic examination of Plaintiff’s computer. See also

Chevron Corp. v. E-Tech Int’l, Inc., No. 10CV1146-IEG (WMc), 2011 WL 13182855, at *2 (S.D.

Cal. Feb. 11, 2011) (ordering the forensic examination of a hard drive and noting that there is



                                                   11
   Case: 1:17-cv-05668 Document #: 60 Filed: 04/06/18 Page 13 of 16 PageID #:606



“nothing in the proposed discovery that would cause this Court to conclude such discovery is

‘unduly intrusive or burdensome’”). Moreover, GRI is also going to pay the costs for the forensic

examination, further sinking any “unduly burdensome” argument. See id. (“[f]orensic examination

of [the party’s] hard drive will not involve an undue burden or cost . . . because [the moving party]

will pay the cost of the forensic examination [and] [t]he information sought is clearly relevant to

the issues and claims raised in the . . . litigation”).

        Because how the Web Form was displayed on Plaintiff’s computer and whether he

completed the Web Form for a proper purpose are central to his claims, GRI, therefore, is entitled

to have Plaintiff’s device examined by its forensic expert. See Genworth Fin. Wealth Mgmt., Inc.

v. McMullan, 267 F.R.D. 443, 448 (D. Conn. 2010) (granting motion to compel forensic imaging

of a computer where “there is a nexus between [the party’s] claims and its need to obtain a mirror

image of the computer’s hard drive, warranting the imaging requested”).

        2.      Documents with respect to the Kozonislaw Advertisement

        Equally clear, is that GRI is entitled to have Plaintiff respond fully to its discovery requests

concerning the identification of other putative class members—including any communications

Plaintiff’s counsel received in response to his advertisement on the kozonislaw website. Plaintiff’s

objection that GRI’s “request calls for information protected by the attorney-client, attorney work

product, or other privileges” is contrary to the law. (See Long Decl. Ex. E, Plaintiff’s Response to

RFP No. 28).

        In Searcy v. eFunds Corp., No. 08 C 985, 2009 U.S. Dist. LEXIS 16986, at *6-11 (N.D.

Ill. Mar. 5, 2009), Judge Kocoras rejected arguments like Plaintiff makes here that potential class

members’ responses to counsel’s solicitation were protected by the work product doctrine or the

attorney-client privilege. In doing so, the court noted “[t]hough it is possible that communications

made before a professional arrangement is formalized can be privileged from disclosure, the



                                                     12
   Case: 1:17-cv-05668 Document #: 60 Filed: 04/06/18 Page 14 of 16 PageID #:607



amorphous nature of the interactions between two parties when no representation has been

finalized further complicates this inquiry. In any event, assertions of privilege from disclosure

must be made with particularity, expressly and with sufficient elaboration of the nature of the

document or documents at issue that others can assess whether application of the privilege is

appropriate.” Id., at *9-10; see id., at *10 (“[c]onclusory statements of privilege are not sufficient

to establish that a large group of documents is protected, and the fact that some documents within

the group may be privileged does not mandate a conclusion that all are”).

       Accordingly, Plaintiff is required to provide documents with respect to his counsel’s

communication with potential putative class members, and identify them in response to GRI’s

interrogatory. See Auscape Int’l v. Nat’l Geographic Soc’y, No. 02 Civ. 6441 (LAK), 2002 U.S.

Dist. LEXIS 26318, at *3 (S.D.N.Y. Oct. 8, 2002) (compelling production of documents and

stating “letters to prospective clients to encourage their involvement in a class action and a

proposed form of retainer agreement, regardless of whether the sending of them was in furtherance

of the interest of existing clients, are not communications between attorney and client and are not

confidential”); id. (to accept Plaintiff’s privilege argument “would take the attorney-client

privilege to a galaxy far, far away from its roots and one that it is unnecessary to visit”).

                                          CONCLUSION

       For the foregoing reasons, GRI respectfully requests that this Court grant GRI’s motion

and enter an order compelling the forensic examination of Plaintiff’s computer by GRI’s forensic

expert in the manner outlined in the “Forensic Method” section of GRI’s Protocol provided to

Plaintiff’s counsel on April 2, to take place on or before April 20, 2018. Alternatively, GRI

requests that this Court issue an order compelling a manual examination of Plaintiff’s computer

by GRI’s forensic expert in the manner outlined in the “Manual Method” of GRI’s Protocol

provided to Plaintiff’s counsel on April 2, to take place on or before April 20, 2018. GRI further



                                                   13
   Case: 1:17-cv-05668 Document #: 60 Filed: 04/06/18 Page 15 of 16 PageID #:608



requests that this Court compel Plaintiff to respond to the discovery requests concerning other

potential putative class members.

Dated: April 6, 2018                       Respectfully submitted,

                                           KELLEY DRYE & WARREN LLP

                                    By:    /s/ Givonna S. Long
                                           Givonna S. Long (#6290076)
                                           Kelley Drye & Warren LLP
                                           333 W. Wacker Dr.
                                           Chicago, Illinois 60606
                                           Phone (312) 857-7084
                                           glong@kelleydrye.com

                                           Lauri A. Mazzuchetti (pro hac vice)
                                           Kelley Drye & Warren LLP
                                           One Jefferson Road, 2nd Floor
                                           Parsippany, New Jersey 07054
                                           Phone (973) 503-5900
                                           lmazzuchetti@kelleydrye.com


                                           Attorneys for Defendant Guaranteed Rate, Inc.




                                               14
   Case: 1:17-cv-05668 Document #: 60 Filed: 04/06/18 Page 16 of 16 PageID #:609



                                 CERTIFICATE OF SERVICE

       The undersigned, an attorney, hereby deposes and states that on April 6, 2018, she caused

the foregoing, Memorandum In Support of Motion to Compel the Examination of Plaintiff’s

Computer and to Provide Relevant Discovery, to be electronically filed using the CM/ECF

system which will send notification of such filing to all attorneys of record.



                                      By:     /s/ Givonna S. Long
                                              Givonna S. Long (#6290076)
                                              Kelley Drye & Warren LLP
                                              333 W. Wacker Dr.
                                              Chicago, Illinois 60606
                                              Phone (312) 857-7084
                                              glong@kelleydrye.com


                                              Attorneys for Defendant Guaranteed Rate, Inc.
